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      ORAL ARGUMENT SCHEDULED FOR NOVEMBER 3, 2023
               No. 22-1210 (and consolidated cases)



        UNITED STATES COURT OF APPEALS
      FOR THE DISTRICT OF COLUMBIA CIRCUIT

             SINCLAIR WYOMING REFINING COMPANY LLC, et al.,
                                           Petitioners,
                                  v.
     U.S. ENVIRONMENTAL PROTECTION AGENCY AND MICHAEL S. REAGAN,
                           ADMINISTRATOR,
                                           Respondents,
                     AMERICAN PETROLEUM INSTITUTE, et al.,
                                              Intervenors.


                On Petition for Review of Final Agency Action
                 of the U.S. Environmental Protection Agency



            FINAL BRIEF OF THE BIOFUELS PETITIONERS



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September 19, 2023
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     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       Pursuant to Circuit Rule 28(a), petitioners Iogen Corporation, Iogen D3

Biofuel Partners II LLC, Waste Management, Inc., and WM Renewable Energy,

LLC, through undersigned counsel, hereby certify the following as to parties,

rulings, and related proceedings in this case:

Parties, Intervenors, and Amici

A.     Petitioners

       Sinclair Wyoming Refining Company LLC and Sinclair Casper Refining

Company LLC (No. 22-1210); Iogen Corporation and Iogen D3 Biofuel Partners II

LLC (collectively, “Iogen”) (No. 22-1225); American Fuel & Petrochemical

Manufacturers (No. 22-1227); American Refining Group, Inc., Calumet Montana

Refining, LLC, Calumet Shreveport Refining, LLC, Ergon Refining, Inc.,

Ergonwest Virginia, Inc., Hunt Refining Company, Par Hawaii Refining, LLC,

Placid Refining Company LLC, San Joaquin Refining Co., Inc., U.S. Oil & Refining

Company, and Wyoming Refining Company (No. 22-1228); The San Antonio

Refinery LLC (No. 22-1229); Waste Management, Inc. and WM Renewable Energy,

LLC (collectively, “Waste Management”) (No. 22-1230); and Wynnewood

Refining Co. LLC (No. 22-1331).

B.     Respondents

       U.S. Environmental Protection Agency and Michael S. Regan, Administrator.



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C.    Intervenors

      American      Petroleum    Institute;        American   Fuel   &       Petrochemicals

Manufacturers; Renewable Fuels Association; Clean Fuels Alliance America;

Growth Energy.

D.    Amici

      None.

Rulings Under Review

      Renewable Fuel Standard Program: Renewable Fuel Standard Annual Rules,

87 Fed. Reg. 39,600 (July 1, 2022).

Related Cases

      The agency action challenged in these consolidated cases has not been before

this Court or any other court.

      The same or similar issues to those presented in this brief have been presented

in the following pending consolidated cases: RFS Power Coalition v. U.S.

Environmental Protection Agency, No. 20-1046 and consolidated cases (D.C. Cir.).




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioners Iogen and Waste Management provide the following corporate disclosure

statement:

      Iogen Corporation and Iogen D3 Biofuel Partners II LLC are private

companies engaged in the business of producing, distributing, and selling cellulosic

biofuels and generating and selling renewable identification numbers (“RINs”).

Iogen D3 Biofuel Partners II LLC is owned by Iogen Biofuel Holdings II LLC,

which is owned by Iogen Biofuel Holdings II Corporation, which is owned by Salem

Holdco Corporation, which is owned by Iogen Corporation, which is owned by

Iogen Holdings Corporation. No publicly owned corporation owns 10% or more of

the outstanding equity interests in any of the companies listed in this paragraph.

      Waste Management, Inc., a Delaware corporation, is a leading provider of

integrated waste management and environmental solutions services in North

America, including the production of compressed and liquefied renewable natural

gas from landfill biogas and the generation of cellulosic renewable identification

numbers. Waste Management, Inc. is a holding company, and all operations are

conducted by its wholly-owned and majority-owned subsidiaries.                 Waste

Management, Inc. has no parent corporation, and no publicly held company has 10%

or greater ownership in Waste Management, Inc.


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       WM Renewable Energy, LLC, a Delaware corporation, develops, operates,

and promotes projects for the beneficial use of landfill gas as an alternative to the

use of fossil fuels for the generation of energy. WM Renewable Energy, LLC’s

projects generate cellulosic renewable identification numbers or “D3 RINs.” WM

Renewable Energy, LLC is a wholly-owned subsidiary of WM Partnership

Holdings, Inc. WM Partnership Holdings, Inc. is a wholly-owned subsidiary of

Waste Management Holdings, Inc., which is a wholly-owned subsidiary of

Petitioner Waste Management, Inc. Other than WM Partnership Holdings, Inc., no

publicly held company holds a 10% or greater interest in WM Renewable Energy,

LLC.




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CERTIFICATE OF COMPLIANCE
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                              GLOSSARY

ACE                    Americans for Clean Energy v. EPA, 864 F.3d 691
                       (D.C. Cir. 2017)

EPA                    U.S. Environmental Protection Agency

JA                     Joint Appendix

RFS                    Renewable Fuel Standard

RIN                    Renewable Identification Number




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                                   INTRODUCTION

         The Renewable Fuel Standard (“RFS”) program under the Clean Air Act

mandates that certain amounts of renewable fuel, including cellulosic biofuel, must

be introduced into the U.S. transportation fuel supply each year. Refiners and

importers comply with this mandate through use of tradable credits known as

Renewable Identification Numbers (“RINs”), which represent the blending of

certain quantities of renewable fuel into the fuel supply. RINs can be used for

compliance in the same year in which they are generated, or they can be held for use

in the following year as so-called “carryover” RINs.

         If the projected volume of cellulosic biofuel production for a given year is less

than the statutorily required volume, Congress directed the U.S. Environmental

Protection Agency (“EPA”) to waive or “reduce” the required cellulosic volume “to

the projected volume available during that calendar year.”                     42 U.S.C.

§ 7545(o)(7)(D)(i).1 In the final rule at issue, EPA exercised this cellulosic waiver

authority to reduce the required cellulosic volumes for 2020, 2021, and 2022, but it

miscalculated the revised volumes. In particular, EPA improperly failed to include

carryover cellulosic RINs in “the projected volume available.”




1
    Unless otherwise noted, statutory citations are to Title 42, U.S. Code.

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      EPA recognizes that the phrase “the projected volume available during that

calendar year” refers to the volume of cellulosic biofuel that is available to obligated

parties to satisfy their RFS obligations for the year in question.           EPA also

acknowledges that cellulosic volumes reflected in carryover RINs are available for

compliance. And EPA concedes that it is reasonable to construe “the projected

volume available” to include volumes reflected in carryover RINs. Yet EPA rejected

that interpretation, instead reading “the projected volume available” to include only

the current year’s domestic production plus net imports. EPA thus refused to count

the portion of the prior year’s production and net imports that was not used for

compliance in that prior year and therefore remains available for compliance in the

current year in the form of carryover RINs. In other words, EPA construed “the

projected volume available” to include only a subset of the volume that is actually

available to obligated parties for compliance. EPA’s interpretation is contrary to the

statute, unreasonable, and arbitrary and capricious.

      EPA also purported to reach the same result based on a separate statutory

provision, which authorizes EPA to modify or “reset” the statutorily required

volumes in certain circumstances. Under the statute, however, a “reset” is simply a

multi-year prospective waiver; it allows EPA to reset the required volumes for

multiple future years all at once, rather than year by year. Accordingly, because

EPA is required to include carryover RINs in the adjusted cellulosic volume under


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its cellulosic waiver authority, it must do the same under its reset authority as well.

Indeed, EPA itself recognizes that its cellulosic waiver and reset authorities should

produce the same required volumes here. Any other result in this case would be

contrary to the statute, unreasonable, and arbitrary and capricious.

      In setting the required cellulosic volumes below the volumes that are actually

available for compliance, EPA not only contravened the statute, but also undermined

the RFS’s central purpose of promoting the production of beneficial renewable fuels.

Production of cellulosic biofuel has consistently lagged far behind what Congress

envisioned. Yet rather than encouraging cellulosic production, EPA’s approach

suppresses cellulosic demand, undercutting incentives to invest in the new

technologies necessary to increase production.

      The petitions of the biofuels petitioners should be granted.

                                  JURISDICTION

      These consolidated cases challenge final EPA action under the Clean Air Act,

entitled Renewable Fuel Standard Program: Renewable Fuel Standard Annual

Rules, 87 Fed. Reg. 39,600 (July 1, 2022). JA1. The biofuels petitioners filed timely

petitions on August 29 and 30, 2022. This Court has jurisdiction under 42 U.S.C.

§ 7607(b)(1).




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                            STATEMENT OF ISSUES

      1.     Whether EPA’s failure to include carryover cellulosic RINs in “the

projected volume available during [each] calendar year” from 2020 through 2022

under its cellulosic waiver authority, § 7545(o)(7)(D)(i), was contrary to the statute,

unreasonable, arbitrary and capricious, or otherwise not in accordance with law.

      2.     Whether EPA’s failure to include carryover cellulosic RINs in the

modified applicable volume of cellulosic biofuel established for 2020 through 2022

under its reset authority, see § 7545(o)(7)(F), was contrary to the statute,

unreasonable, arbitrary and capricious, or otherwise not in accordance with law.

                                     STATUTE

      Section 7545(o) is reproduced in the Addendum.

                          STATEMENT OF THE CASE

      A.     The Renewable Fuel Standard Program

       “Congress intended the [RFS] Program to be a ‘market forcing policy’ that

would create ‘demand pressure to increase consumption’ of renewable fuel.” Am.

Fuel & Petrochem. Mfrs. v. EPA, 937 F.3d 559, 568 (D.C. Cir. 2019) (per curiam)

(quoting Americans for Clean Energy v. EPA (“ACE”), 864 F.3d 691, 705 (D.C. Cir.

2017)).    The program’s core consists of statutorily specified “‘applicable

volume[s]’—mandatory and annually increasing quantities of renewable fuels that

must be ‘introduced into commerce in the United States’ each year.” Id. (quoting

§ 7545(o)(2)(A)(i)). The volume requirements address four “nested” categories of

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renewable fuel: “[1] cellulosic biofuel and [2] biomass-based diesel are kinds of

[3] advanced biofuel, and advanced biofuel in turn is a kind of renewable fuel that

may be credited toward [4] the total renewable fuel obligation.” ACE, 864 F.3d at

697-98; see § 7545(o)(2)(B)(i)(I)-(IV). Conventional corn starch ethanol is the other

fuel type that counts toward the total renewable fuel obligation alongside advanced

biofuel. See § 7545(o)(1)(F), (2)(B).

      The default applicable volumes are specified in a series of statutory tables,

which establish required volumes for renewable fuel, advanced biofuel, and

cellulosic biofuel for 2006 through 2022. See § 7545(o)(2)(B)(i)(I)-(III).2 “For

2006, Congress ordained the inclusion of 4 billion gallons of renewable fuel in the

Nation’s fuel supply,” and by 2022, the number “climb[s] to 36 billion gallons.”

HollyFrontier Cheyenne Ref., LLC v. Renewable Fuels Ass’n, 141 S. Ct. 2172, 2175

(2021). For cellulosic biofuel, the default applicable volumes increase from 0.1 in

2006 to 16.0 billion gallons in 2022. § 7545(o)(2)(B)(i)(III).

      EPA’s overarching “‘statutory mandate’” “each year[]” is “to ‘ensure[]’ that

those [volume] requirements are met.”         ACE, 864 F.3d at 697-99 (quoting

§ 7545(o)(3)(B)(i)). “EPA fulfills that mandate by translating the annual volume

requirements into ‘percentage standards,’” which “represent the percentage of



2
   The table for biomass-based diesel runs from 2006 through 2012.               See
§ 7545(o)(2)(B)(i)(IV).

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transportation fuel introduced into commerce that must consist of renewable fuel.”

Id. at 699; see § 7545(o)(3)(B). “Each obligated party”—refiners and importers of

transportation fuel—“must ensure” that the specified percentage of the

transportation fuel it uses is renewable. Alon Ref. Krotz Springs, Inc. v. EPA, 936

F.3d 628, 637 (D.C. Cir. 2019). “If each obligated party meets the required

percentage standards, then the Nation’s overall supply of … renewable fuel will

meet the total volume requirements set by EPA.” ACE, 864 F.3d at 699.

      EPA also “establish[ed] a ‘credit program’ through which obligated parties

can acquire and trade credits and thereby comply with” their volume obligations. Id.

“Each credit represents the blending of a certain quantity of renewable fuel.”

HollyFrontier, 141 S. Ct. at 2175. These credits—RINs—may be “retired” when

used to show compliance, or they can be “traded on the open RIN market,” ACE,

864 F.3d at 699, where they can be purchased by “a different producer that needs

them,” HollyFrontier, 141 S. Ct. at 2175.

      If not retired in the year in which they are generated, RINs may be carried

over to satisfy volume obligations for the following year. See § 7545(o)(5)(C); 40

C.F.R. § 80.1428(c). The total volume of such “carryover” RINs is known as the

“RIN bank.” ACE, 864 F.3d at 699, 715 n.3. In addition, if an obligated party “is

unable to generate or purchase sufficient credits in a given year, it may ‘carry

forward’ any deficit to the following year.” HollyFrontier, 141 S. Ct. at 2175


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(quoting § 7545(o)(5)(D)). In that following year, the obligated party then “must

offset the deficit it carried forward.” Id. (citing § 7545(o)(5)(D)(ii)).

      B.     EPA’s Waiver Authorities

      Congress also gave EPA a set of “waiver” authorities, which “allow[] EPA to

reduce the statutory volume requirements,” ACE, 864 F.3d at 698, but “only in

limited circumstances,” Nat’l Petrochem. & Refs. Ass’n v. EPA, 630 F.3d 145, 149

(D.C. Cir. 2010); see § 7545(o)(7)(A)-(E). One is the cellulosic waiver, which has

both mandatory and discretionary components. Under the mandatory cellulosic

waiver, if EPA determines that the “projected volume of cellulosic biofuel

production” in the upcoming year will be less than the volume specified in the

statutory table, EPA “shall reduce” the required cellulosic volume down to “the

projected volume available during that calendar year.” § 7545(o)(7)(D)(i). In

making that projection, EPA may not “adopt a methodology in which the risk of

overestimation is set deliberately to outweigh the risk of underestimation” or vice

versa, but must instead must “take neutral aim at accuracy.” Am. Petrol. Inst. v. EPA,

706 F.3d 474, 476, 479 (D.C. Cir. 2013).

      If EPA exercises the mandatory cellulosic waiver, EPA may exercise the

discretionary cellulosic waiver. In particular, having reduced the applicable volume

of cellulosic biofuel, EPA “may also reduce the applicable volume of renewable fuel

and advanced biofuels … by the same or a lesser volume.” § 7545(o)(7)(D)(i).


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“Under the cellulosic waiver authority, … EPA has reduced the statutory target for

cellulosic biofuel in every year since 2010 and the statutory targets for advanced

biofuel and total renewable fuel in every year since 2014.” JA158; see JA7 (similar).

Indeed, “[a]ctual production of cellulosic biofuel … has been significantly less than

the statutory volumes,” and “[t]he significant shortfalls in advanced biofuel and total

renewable fuel for more recent years are primarily the result of shortfalls in cellulosic

biofuel.” JA165, JA178.

       If EPA exercises its mandatory cellulosic waiver authority, EPA also must

make certain “credits”—known as cellulosic waiver credits—available for sale at

prescribed prices tied to the wholesale price of gasoline.         § 7545(o)(7)(D)(ii).

Obligated parties may purchase cellulosic waiver credits from EPA and use them to

fulfill their cellulosic volume obligations (though not their advanced or total

renewable volume obligations). 40 C.F.R. §80.1456(b). Cellulosic waiver credits

do not represent any physical volume of cellulosic or other renewable fuel, but

instead provide an escape-valve compliance mechanism, with payments going to

EPA.

       In addition to the cellulosic waiver, EPA also may issue a “general” waiver of

any nationwide volume requirement if it determines that (1) “implementation of the

requirement would severely harm the economy or environment of a State, a region,




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or the United States” or (2) “there is an inadequate domestic supply” of renewable

fuel. § 7545(o)(7)(A).

      C.    EPA’s Reset Authority

      Congress also gave EPA authority to modify or “reset,” JA3, the applicable

volumes in the statutory tables under certain circumstances. For a given category of

renewable fuel, if EPA invokes its waiver authorities to reduce the applicable

volume by at least 20 percent for two consecutive years or at least 50 percent for a

single year, EPA “shall promulgate a rule … that modifies the applicable volumes

set forth in the table concerned for all years following the final year to which the

waiver applies.” § 7545(o)(7)(F).

      When modifying the statutory targets in a reset, EPA must “comply with the

processes, criteria, and standards set forth in paragraph (2)(B)(ii),” the provision

governing how EPA sets applicable volumes for years not included in the tables. Id.

Under that provision, EPA must set the applicable volumes “based on a review of

the implementation of the program during the calendar years specified in the tables,

and an analysis of” certain factors, including impacts on the environment, impacts

on energy security, the expected annual rate of commercial biofuel production,

impacts on infrastructure, impacts on consumer fuel costs, and impacts on other

factors, such as job creation, agricultural commodities, rural economic development,




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and food prices. § 7545(o)(2)(B)(ii). EPA first exercised its reset authority in the

final rule at issue.

       D.     The 2020 Final Rule

       Until 2020, EPA avoided deciding whether, under the mandatory cellulosic

waiver, “the projected volume available in [a] calendar year” must or should include

carryover cellulosic RINs. In its final rule for 2014 through 2016, EPA did not

“substantively evaluate” this issue because it determined that the cellulosic RIN

bank was too small to “make a difference.” Renewable Fuel Standards for 2014,

2015 and 2016 and the Biomass-Based Volume for 2017: Response to Comments,

EPA-420-R-15-024, at 598 (Nov. 2015). The final rules for 2017, 2018, and 2019

likewise did not address this issue. See 81 Fed. Reg. 89746 (Dec. 12, 2016); 82 Fed.

Reg. 58486 (Dec. 12, 2017); 83 Fed. Reg. 63704 (Dec. 11, 2018).

       On February 6, 2020, EPA promulgated a final rule for 2020. See 85 Fed.

Reg. 7016 (Feb. 6, 2020). As relevant here, EPA exercised its cellulosic waiver

authority to reduce the required cellulosic volume by 9.91 billion gallons, down to

“0.59 billion ethanol-equivalent gallons.” Id. at 7018. In calculating “the projected

volume available during [2020],” EPA did not include tens of millions of gallons of

cellulosic biofuel available for compliance in the form of carryover cellulosic RINs.

See id. at 7022. EPA acknowledged that the statutory phrase “the projected volume

available” refers to volumes that are “available to obligated parties for compliance,”


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id. at 7024 n.28, and further acknowledged that carryover RINs are “available for

compliance” and “available to satisfy the 2020 standards,” Carryover RIN Bank

Calculations for 2020 Final Rule, EPA-HQ-OAR-2019-0136-2052, at 4 (Dec. 3,

2019). EPA further acknowledged that it would be “reasonable” to “construe ‘the

projected volume available’ to include carryover RINs.” Renewable Fuel Standard

Program – Standards for 2020 and Biomass-Based Diesel for 2021 and Other

Changes: Response to Comments, EPA-420-R-19-018, at 49 (Dec. 2019). But EPA

rejected that interpretation based on a belief that excluding carryover cellulosic RINs

“strikes an appropriate balance between the interests of various stakeholders and best

ensures the ongoing smooth implementation of the program.” Id.

      Various parties challenged the 2020 final rule, including the biofuels

petitioners here, who challenged (among other things) EPA’s failure to include

carryover cellulosic RINs in “the projected volume available during [2020].” This

Court consolidated the various challenges, but after opening briefs were filed, EPA

moved to hold the case in abeyance. On March 30, 2021, this Court granted that

motion. See Order, RFS Power Coal. v. EPA, No. 20-1046, Doc. #1892343 (D.C.

Cir. Mar. 30, 2021). The case has been held in abeyance ever since. See Order, RFS

Power Coal., No. 20-1046, Doc. #1968062 (D.C. Cir. Oct. 7, 2022) (most recent

abeyance order).




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      E.     The 2022 Final Rule

      On July 1, 2022, EPA promulgated the final rule at issue. See JA1. As

relevant here, EPA modified the previously-established cellulosic volume for 2020

and established the required cellulosic volumes for 2021 and 2022. Id. In so doing,

EPA purported to exercise its reset authority, while “also independently justifying

the 2020, 2021, and 2022 cellulosic biofuel volumes … under the cellulosic waiver

authority.” JA3 & n.4. Because EPA exercised its cellulosic waiver authority for

2020 through 2022, it issued cellulosic waiver credits for those years. See JA17;

Cellulosic Waiver Credits Under the Renewable Fuel Standard Program, EPA,

https://bit.ly/3mZR9Td (last updated Oct. 19, 2022).

      EPA did not set forth separate regulatory analysis for its cellulosic waiver and

reset authorities. Instead, EPA determined that, “[f]or cellulosic biofuel for 2020,

2021 and 2022, … the appropriate volume after analyzing the various [reset] factors

is the projected volume available in each of those years.” JA9. EPA noted that,

“[f]or each year, this volume is equivalent to the resulting volume after exercise of

the cellulosic waiver.” Id. Accordingly, EPA explained that its “analysis [of the

reset factors] subsumes [its] policy and technical rationale for exercising the

cellulosic waiver authority as well,” and thus the agency did “not provid[e] a

separate analysis for the application of the cellulosic waiver authority.” Id. EPA

also acknowledged that, notwithstanding the agency’s invocation of its reset


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authority, “the legal arguments made by commenters supporting a change to include

cellulosic carryover RINs in the cellulosic volume” were “still relevant.” JA18.

      On that understanding of its authorities, EPA modified the required cellulosic

volume for 2020 “based on the actual volumes … used in the U.S. in 2020.” JA3.

EPA explained that, since it had first promulgated volume requirements for 2020,

the COVID-19 pandemic and other factors had “adversely affected the ability of

obligated parties … to achieve the intended volumes in the 2020 final rule,”

justifying a retroactive modification. Id. For 2021, EPA similarly established

applicable volumes “equal to the actual volumes … that were used in the U.S. in

2021.” JA3-4. For 2022, EPA established a required cellulosic volume “equal to

the volume of qualifying cellulosic biofuel projected to be used in … 2022.” JA4.

      For each year, EPA explained that its “interpretation of the ‘projected volume

available’ includes the volume of qualifying cellulosic biofuel projected to be

produced or imported and available for use as transportation in the U.S. in that year.”

JA7. EPA’s calculations thus did “not include cellulosic carryover RINs.” Id. For

2020, therefore, EPA excluded approximately 38 million ethanol-equivalent gallons

of cellulosic biofuel that were produced or imported in 2019 but remained

“available” for compliance in 2020 as carryover cellulosic RINs. See JA17 n.95.

Those 38 million gallons represent roughly 6 percent of the 2020 cellulosic volume

requirement. See id. EPA likewise excluded carryover cellulosic RINs from its


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calculations for 2021 or 2022.      See JA7.     As in the 2020 final rule, EPA

acknowledged that it would be “reasonable” to “construe ‘the projected volume

available’ to include carryover RINs.” JA485. Yet EPA continued to interpret “the

projected volume available” to be “equivalent to the projected number of cellulosic

RINs generated in the year that are available for obligated parties to use for

compliance,” and thus did “not include[] available cellulosic carryover RINs in [its]

projection of the projected volume available.” JA17 (emphasis added).3

                         SUMMARY OF ARGUMENT

      I.     EPA exceeded its authority and acted in an unreasonable and arbitrary

and capricious manner by failing to include carryover cellulosic RINs in its

projection of the volume of cellulosic biofuel “available” for compliance under its

cellulosic waiver authority. When EPA’s cellulosic waiver authority is triggered,

EPA must “reduce the applicable volume of cellulosic biofuel” in the statutory table

“to the projected volume available during that calendar year.” § 7545(o)(7)(D)(i).

That mandate unambiguously requires EPA to include in its projection all volumes

that are “available” for compliance, including volumes produced or imported in the




3
  In December 2022, EPA proposed volume requirements for 2023 through 2025
pursuant to its so-called “set” authority under § 7545(o)(2)(D)(ii). See 87 Fed. Reg.
80582 (Dec. 30, 2022). While that proposed rule discusses carryover RINs, as do
the biofuels petitioners’ comments, EPA’s “set” authority is not directly relevant to
the biofuels petitioners’ arguments here.

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prior year and available for compliance in the current year as carryover RINs. The

statute thus precludes EPA’s interpretation, whereby “the projected volume

available during [a] calendar year” includes only a subset of the volume that is

actually available for compliance—volumes produced or imported in the current

year. EPA’s interpretation also is unreasonable because EPA has acknowledged that

the relevant question is what volumes are available for compliance, which

undisputedly includes carryover RINs.           And EPA also acted arbitrarily and

capriciously, as its reading is at best a poor fit with the statutory text and context, is

inadequately explained, and undermines the RFS’s central goal of encouraging

increased production of beneficial renewable fuels.

      II.    EPA likewise exceeded its authority and acted in an unreasonable and

arbitrary and capricious manner by failing to include carryover cellulosic RINs in

the required cellulosic volumes under its reset authority. EPA itself expressly—and

correctly—determined that its cellulosic waiver and reset authorities require the

same regulatory analysis and yield the same result. Either way, the required volume

is “the projected volume available.” Because EPA miscalculated that volume under

its cellulosic waiver authority, it also miscalculated it under its reset authority.

Furthermore, the statutory text and structure make clear that the reset serves as a

multi-year prospective waiver, subject to the same basic constraints as the waiver

authority that triggered it unless an enumerated statutory factor warrants deviating


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from that baseline. And here, the statutory factors do not authorize such a deviation.

In any event, EPA’s purported exercise of its reset authority was unreasonable,

arbitrary, and capricious because it clashes with the statutory structure, EPA’s own

issuance of cellulosic waiver credits, and the basic purpose of the RFS as a market-

forcing policy intended to incentivize increased investment and production.

                                    STANDING

      The biofuels petitioners have standing. They produce renewable fuels under

the RFS—including cellulosic biofuels—and generate or own RINs. JA689-690;

JA790-791. Petitioners challenge the 2022 final rule on the ground that EPA

unlawfully set the cellulosic volume requirements for 2020 through 2022 too low,

reducing demand for petitioners’ products and the RINs they generate and own. In

the 2022 final rule, EPA acknowledged that “[e]ntities potentially affected by this

final rule are those involved with the production … of … renewable fuels,” JA1, and

that “it could be favorable to biofuel producers for [EPA] to … count on carryover

RINs as a basis to … minimize the reduction in the statutory volume targets,” JA481;

see JA490 (explaining that EPA’s treatment of carryover cellulosic RINs reflects

valuing “other … factors” over “the development of cellulosic biofuels”). The 2022

final rule accordingly has caused petitioners to suffer a concrete and particularized

injury, which correcting EPA’s errors would redress.




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      Indeed, “standing to seek review of administrative action is self-evident” if

the petitioner “is an object of the action … at issue.” Fund For Animals, Inc. v.

Norton, 322 F.3d 728, 733 (D.C. Cir. 2003) (citation omitted). Here, the 2020

volume requirements “directly regulate biofuel producers,” Am. Fuel, 937 F.3d at

595, so “there should be little question that the action … has caused [them] injury,

and that a judgment preventing or requiring the action will redress it,” Fund For

Animals, 322 F.3d at 734 (citation omitted). This Court has routinely found that

organizations representing biofuels producers have standing to challenge EPA

actions under the RFS. E.g., Alon, 936 F.3d at 664-65; Nat’l Biodiesel Bd. v. EPA,

843 F.3d 1010, 1015 (D.C. Cir. 2016); Am. Fuel, 937 F.3d at 591-96.

                            STANDARD OF REVIEW

      This Court “may reverse the EPA’s actions under the [RFS] Program if [it]

find[s] them to be ‘arbitrary, capricious, [or] an abuse of discretion.’” Am. Fuel, 937

F.3d at 574 (quoting § 7607(d)(9)(A)). To satisfy this standard, EPA must have

“considered all of the relevant factors and demonstrated a reasonable connection

between the facts on the record and the resulting policy choice.” Id. (brackets

omitted). The Court “also may reverse an EPA action under the Program if [it]

determine[s] that it is ‘otherwise not in accordance with law’ or ‘in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right.’” Id.




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(quoting § 7607(d)(9)(A), (C)). “The court reviews the EPA’s interpretation of the

Clean Air Act under the familiar two-step [Chevron] framework.” Id.

                                  ARGUMENT

I.    EPA Erred in Failing To Include Carryover Cellulosic RINs in “the
      Projected Volume Available” Under Its Cellulosic Waiver Authority

      EPA “independently justifi[ed]” the required cellulosic volumes for 2020

through 2022 under its cellulosic waiver authority. By statute, when that waiver is

triggered, EPA “shall reduce the applicable volume of cellulosic biofuel” in the

statutory table “to the projected volume available during that calendar year.”

§ 7545(o)(7)(D)(i). EPA erred in making those projections here. By its plain

meaning, the cellulosic volume “available” encompasses all cellulosic biofuel that

is available to obligated parties for RFS compliance in 2020 through 2022. That

includes not only the volumes produced or imported in those calendar years, but also

any portion of the previous year’s production and imports that remains available for

compliance in the form of carryover RINs. In the 2022 final rule, however, EPA

excluded carryover RINs, effectively reading the “volume available” to mean “some

of the volume available, but not all.” EPA’s interpretation and resulting undercount

of “the projected volume available” contravenes the statute at Chevron step one, is

unreasonable at Chevron step two, and is arbitrary and capricious.




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      A.     “The Projected Volume Available” Unambiguously Includes
             Carryover Cellulosic RINs

             1.     The Statutory Text, Structure, and Purpose Are Clear

      At Chevron step one, this Court asks “whether Congress has directly spoken

to the precise question at issue,” after “exhaust[ing] the traditional tools of statutory

construction.” Am. Fuel & Petrochem. Mfrs. v. EPA, 3 F.4th 373, 380 (D.C. Cir.

2021) (quotation marks omitted). Here, starting with the text, the cellulosic waiver

provision provides:

      For any calendar year for which the projected volume of cellulosic
      biofuel production is less than the minimum applicable volume
      established under paragraph (2)(B), … [EPA] shall reduce the
      applicable volume of cellulosic biofuel required under paragraph (2)(B)
      to the projected volume available during that calendar year.

§ 7545(o)(7)(D)(i) (emphasis added). By its plain meaning, “the projected volume

available during that calendar year” means all cellulosic volumes that obligated

parties may use to comply with the RFS for the compliance year in question. The

ordinary meaning of “available” is something capable of being used by a particular

person for a particular purpose. See Ross v. Blake, 578 U.S. 632, 642 (2016); English

v. Trump, 279 F. Supp. 3d 307, 322 (D.D.C. 2018). Here, the projected volume

“available” must mean the volume available to obligated parties for the purpose of

complying with the volume obligations under the RFS. Indeed, EPA acknowledges

that whether particular volumes are part of “the projected volume available” depends

on whether they are “available to obligated parties for compliance.” JA16.

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      That EPA acknowledgment comports with the statutory scheme. As this

Court has noted in construing the RFS’s general waiver provision, “it is the refiners,

blenders, and importers”—i.e., obligated parties—“who must have access to an

adequate supply of renewable fuel in order to meet the … Program’s statutory

volume requirements.” ACE, 864 F.3d at 708 (quotation marks omitted). That is

“the only reasonable interpretation”; the statute is not “ambiguous.” Id. at 707.

      Obligated parties “comply with their renewable fuel obligations by

accumulating or purchasing the requisite number of RINs.” ACE, 864 F.3d at 699.

By statute, RINs “shall be valid to show compliance for the 12 months as of the date

of generation.” § 7545(o)(5)(C). RINs thus are valid in two calendar years—the

year in which they are generated, and the next year. Accordingly, by regulation, “a

RIN is valid for compliance during the calendar year in which it was generated, or

the following calendar year.” 40 C.F.R. § 80.1428(c). In other words, whether the

renewable fuel reflected in a given RIN is “available” for compliance in a given year

does not depend on whether that fuel was produced or is physically available to

consumers as transportation fuel during that same year. Indeed, EPA has repeatedly

described carryover RINs as “available for compliance,” JA15, JA18-19, JA30 &

n.164, and as “a valid compliance mechanism” whose “availability” is an “important

factor” in EPA’s administration of the RFS, 80 Fed. Reg. 77420, 77484-85 & n.153

(Dec. 14, 2015). This Court, too, has described carryover RINs as “available for


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compliance.” Monroe Energy LLC v. EPA, 750 F.3d 909, 918 (D.C. Cir. 2014); see

Am. Fuel, 937 F.3d at 582 (similar).

      The statutory structure reinforces that “the projected volume available” must

include cellulosic volumes reflected in carryover RINs. “Where Congress uses

certain language in one part of a statute and different language in another, it is

presumed that Congress acts intentionally,” NFIB v. Sebelius, 567 U.S. 519, 544

(2012)—“especially” where different words “are used in the same sentence,” N.E.

Hosp. Corp. v. Sebelius, 657 F.3d 1, 12 (D.C. Cir. 2011) (quotation marks omitted).

Here, the first sentence of the mandatory cellulosic waiver provision uses three

volumetric terms—“minimum applicable volume,” “the projected volume of

cellulosic   biofuel   production,”    and    “the   projected   volume    available.”

§ 7545(o)(7)(D)(i). “[M]inimum applicable volume” undisputedly refers to the

numerical values set forth in the statutory table. See § 7545(o)(2)(B). The remaining

two terms—“the projected volume of cellulosic biofuel production” and “the

projected volume available”—cannot both mean the same thing. Rather, “the

projected volume of cellulosic biofuel production” refers to cellulosic biofuel

projected to be produced during the year in question, while “the projected volume

available” refers to volume projected to be available to obligated parties for

compliance during that year.      The volume available to obligated parties for

compliance, in turn, necessarily includes the portion of the prior year’s production


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and net imports that was not used for compliance during that year, and therefore

remains available for compliance in the current year in the form of carryover RINs.

      Including carryover RINs in “the projected volume available” also is

consistent with the purpose of the RFS in general and the mandatory cellulosic

waiver provision in particular. The RFS is a “market forcing policy intended to

overcome constraints in the market by creating demand pressure to increase

consumption of renewable fuels.” ACE, 864 F.3d at 710 (quotation marks omitted).

Excluding carryover RINs from “the projected volume available” undermines that

goal by causing supply to consistently exceed demand in the cellulosic RIN market,

thereby depressing cellulosic RIN prices and discouraging investment in cellulosic

production. That is the opposite of “creating demand pressure.” Id.

      To explain, once a cellulosic RIN bank emerges, excluding carryover RINs

from “the projected volume available” means that the number of cellulosic RINs

obligated parties must retire for compliance will be less than the total number of

RINs actually available for compliance. Accordingly, unless some other event

intervenes to draw the cellulosic RIN bank down, extra cellulosic RINs will be

carried forward into the next year, and then the year after that, and so on, resulting

in a persistent RIN surplus. Under basic principles of supply and demand, a

persistent surplus pushes prices downward, and lower prices—or even expectations

thereof—reduce incentives to invest in increased production.     Including carryover


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cellulosic RINs in “the projected volume available,” by contrast, ensures that the

entire supply of RINs available for compliance—current-year RINs and carryover

RINs—is met with appropriate demand. See JA656-659, JA667-669.4

      Including carryover cellulosic RINs in “the projected volume available” also

furthers the purpose of the mandatory cellulosic waiver provision. That provision

“serves as a non-discretionary safety valve when [obligated parties] would otherwise

be put in an impossible position, or at least a highly punitive one—that is, forced to

purchase volumes of cellulosic biofuel greater than total production, or pay fines for

failing to do so.” Am. Petrol., 706 F.3d at 479. In other words, the mandatory

cellulosic waiver, like the general waiver, “is just that: a waiver provision. It

authorizes EPA to ease the … Program’s requirements when complying with those

requirements would be infeasible.” ACE, 864 F.3d at 708 (emphasis added). In

directing EPA to reduce the required cellulosic volume to “the projected volume

available,” Congress ensured that the mandatory cellulosic waiver would waive only

infeasible requirements, while leaving feasible requirements in place. Including

carryover RINs in the cellulosic volume “available” fits with that purpose, as using

carryover RINs for compliance is perfectly feasible. Excluding carryover RINs, by

contrast, eases RFS obligations unnecessarily, contrary to the waiver’s purpose.



4
 The surplus provided by the RIN bank is in addition to any further surplus provided
by cellulosic waiver credits, discussed below. Infra, pp. 27-29, 32-33.

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             2.    EPA’s Contrary Interpretation Is Erroneous

      EPA’s explanation for its interpretation of “the projected volume available”

in the 2022 final rule is unconvincing. In framing the issue, EPA asserts that “there

are multiple possible interpretations” and “multiple reasonable constructions” of the

mandatory cellulosic waiver provision. JA17, JA485. In EPA’s view, “[o]ne

reading is to construe ‘the projected volume available’ as a shortened reference to

the ‘projected volume of cellulosic biofuel production,’” such that “both refer only

to projected production.” JA485-486 & n.42. No party here advocates that reading.

A second reading, advocated by the biofuels petitioners, “construe[s] ‘the projected

volume available’ to include carryover RINs.” Id. The third reading—EPA’s

reading—“construe[s] ‘the projected volume available’ to mean all cellulosic biofuel

produced in that year, which will be available for use in the United States.” Id. EPA

asserts that these readings are all permissible because “the provision does not

specifically address” carryover RINs—a term “created by EPA”—nor does it “refer

to the credit provisions … under which EPA created the RIN program.” JA484-485.

      In fact, Congress did “specifically address” the issue of carryover RINs

through use of the term “the projected volume available,” whose plain meaning

encompasses volumes reflected in carryover RINs. Indeed, by providing that

renewable fuel credits may be used for compliance in two calendar years, see

§ 7545(o)(5)(C), Congress expressly contemplated that cellulosic biofuel produced


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or imported in one year could be “available” for compliance the next year.

Regardless, exactly how the statute and EPA’s regulations make particular volumes

“available” for compliance in a given year does not matter. What matters is whether

those volumes are “available.” Because carryover RINs are “available,” they must

be included in “the projected volume available.” The “volume available” means all

of the volume available, not just some.

      Furthermore, EPA ignores that its reading effectively inserts words into the

statute that Congress chose to omit. In EPA’s view, “the projected volume available

during that calendar year” means “the projected volume produced and available to

consumers during that calendar year.”          But that is not what Congress wrote.

“[EPA]’s construction of the statute would require [this Court] to write a restriction

into the text that is not there. [This Court] will not do that.” Nat’l Ass’n of Postal

Supervisors v. U.S. Postal Serv., 26 F.4th 960, 978 (D.C. Cir. 2022). Moreover, in

the context of EPA’s general waiver authority, this Court has rejected the notion that

the relevant volumes are those available for use by consumers. Rather, “it is the

refiners, blenders, and importers—not consumers—who must ‘use’ the statutorily

required volumes of renewable fuel.” ACE, 864 F.3d at 708. That is “the only

reasonable interpretation.” Id.

      EPA also asserts that its reading is “consistent with [its] interpretation in past

annual rulemakings.” JA485. That is misleading. In 2013, EPA included carryover


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RINs in the required volumes of advanced biofuel and total renewable fuel

established under EPA’s discretionary cellulosic waiver authority. See 78 Fed. Reg.

49794, 49797 (Aug. 15, 2013); supra, pp. 7-8 (describing discretionary cellulosic

waiver). Foreshadowing the biofuels petitioners’ arguments here, EPA explained

that “carryover RINs are available,” that “carryover RINs are a valid compliance

mechanism,” and that “a significant number of carryover RINs from 2012 … could

be used to fulfill part of the 2013 advanced biofuel requirement.” 78 Fed. Reg. at

49813, 49822. After 2013, EPA avoided substantively addressing the meaning of

“the projected volume available” under the mandatory cellulosic waiver provision

until the 2020 final rule, and the biofuels petitioners’ challenge to that rule has been

stayed. See supra, p. 10. Furthermore, EPA reopened the issue here by inviting

comments and considering alternative approaches. See JA93, JA98-99; P & V

Enters. v. U.S. Army Corps of Eng’rs, 516 F.3d 1021, 1023-24 (D.C. Cir. 2008).

      Finally, EPA cites this Court’s holding in ACE that EPA is not required to

consider carryover RINs when determining whether there is “inadequate domestic

supply,” triggering EPA’s general waiver authority. See JA485 & n.41; JA525-526,

JA528. But that holding from ACE is irrelevant here because the cellulosic waiver

provision differs from the general waiver provision in two important ways. First,

the statutory text is different—the key term for the cellulosic waiver is “the projected

volume available,” while the key term for the general waiver is “inadequate domestic


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supply.” ACE carefully analyzed the text of the general waiver provision, see 864

F.3d at 714, but did not opine on the meaning of “the projected volume available”

in the cellulosic waiver provision.

      Second, while carryover RINs may play an important backstop role in other

RIN markets, other mechanisms fill that role for cellulosic RINs. In ACE, this Court

credited EPA’s explanation that, “were [EPA] to consider carryover RINs as a

supply source …, the number of carryover RINs would be reduced to almost zero,”

eliminating critical “flexibility and liquidity provided by carryover RINs.” Id. at

715. Whatever the merits of that rationale in other contexts, it does not apply to

cellulosic RINs.5 That is because the statute requires EPA, whenever the mandatory

cellulosic waiver is triggered, to enable obligated parties to satisfy their cellulosic

volume obligations by purchasing cellulosic waiver credits. See § 7545(o)(7)(D)(ii);

40 C.F.R. § 80.1456. Congress expressly directed EPA to sell cellulosic waiver

credits at predetermined prices “to assist market liquidity and transparency” and “to

provide appropriate certainty for regulated entities and renewable fuel producers.”

§ 7545(o)(7)(D)(iii). Indeed, the 2022 final rule acknowledges that cellulosic waiver

credits provide obligated parties with “important compliance flexibilit[y].” JA17.




5
  The statute establishes a unique scheme for the cellulosic biofuel market. The
biofuels petitioners take no position in this case on EPA’s rationale for maintaining
a RIN bank for other fuel categories.

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In the cellulosic context, cellulosic waiver credits are the statutory mechanism

Congress established to ensure that obligated parties can comply with their volume

obligations—not a RIN bank.

      EPA notes that cellulosic waiver credits “are not a full replacement for

cellulosic RINs” because, “to satisfy their cellulosic biofuel obligation, obligated

parties must retire either a cellulosic RIN or a cellulosic waiver credit plus an

advanced RIN.” JA17. But that does not matter. Congress expressly considered

obligated parties’ ability to comply with their cellulosic volume obligations, and it

provided a mechanism to address that problem—cellulosic waiver credits. EPA’s

apparent preference for carryover RINs over cellulosic waiver credits as a source of

compliance flexibility is not a reason to rewrite the statute.

      Nor does it matter that cellulosic waiver credits are available only when the

mandatory cellulosic waiver is triggered, which EPA predicts is “unlikely” to happen

in 2023. JA17. If EPA sets the required cellulosic volume for 2023 appropriately,

cellulosic RINs generated in that year will suffice to satisfy obligated parties’

cellulosic obligations, and cellulosic waiver credits will not be needed. Conversely,

if the required cellulosic volume for 2023 were too high, EPA has taken the view

that the cellulosic waiver would be triggered, making cellulosic waiver credits

available. See 87 Fed. Reg. at 80624. And to the extent obligated parties need




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additional compliance flexibility, they can use carryover deficits.                 See

§ 7545(o)(5)(D).

      In other words, if the program is functioning properly, the fact that cellulosic

waiver credits are not available in a given year indicates that obligated parties do not

need the liquidity those credits provide. And if liquidity is needed, EPA has

indicated that cellulosic waiver credits will be available because the mandatory

cellulosic waiver will be triggered. That is not an accident—it is how the statute is

designed.

      B.     EPA’s Reading of “the Projected Volume Available” Is
             Unreasonable

      Even if the statute were ambiguous, EPA’s interpretation of the mandatory

cellulosic waiver provision is unreasonable at Chevron step two.                  “The

‘reasonableness’ of an agency’s construction depends, in part, on the construction’s

‘fit’ with the statutory language, as well as its conformity to statutory purposes.”

Goldstein v. SEC, 451 F.3d 873, 881 (D.C. Cir. 2006) (quotation marks omitted).

Reasonableness also depends on whether the agency’s interpretation is “adequately

explained.” Id. at 882.

      Here, as explained above, EPA’s interpretation is a poor fit with the statutory

text and context. It is “[a]t best … counterintuitive,” id. at 881, to read the phrase

“the projected volume available during that calendar year” to include some—but not



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all—of the volumes obligated parties actually may count toward their volume

obligations in that year.

      EPA’s interpretation also is “not adequately explained.” Id. at 882. EPA has

long recognized that “the projected volume available during that calendar year”

cannot mean the year’s production, whether domestic or global, because cellulosic

biofuel can be imported and exported. Exported volumes, for example, are “not

available for qualifying domestic use.” JA485 (emphasis added). Accordingly, as

EPA itself explained in the 2020 final rule, the volume “available” under

§ 7545(o)(7)(D)(i) is the volume “available to obligated parties for compliance.” 85

Fed. Reg. at 7023-24 n.28. If what matters, however, is the volume that is “available

to obligated parties for compliance,” then there is no basis to include some volumes

available for compliance (current-year domestic production plus net imports) but

exclude others (the portion of prior-year production plus net imports that remains

available for compliance in the form of carryover RINs).

      EPA asserts that net imports and carryover RINs “are two distinct issues,”

JA487, but that is wrong. The word “available” either refers to volumes that

obligated parties can use for compliance, or it does not. “Chevron … does not

license interpretive gerrymanders under which an agency keeps parts of statutory

context it likes while throwing away parts it does not.” Michigan v. EPA, 576 U.S.

743, 754 (2015).


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      Finally, EPA’s interpretation clashes with the “statutory purpose[].”

Goldstein, 451 F.3d at 881 Again, the RFS is a “market forcing policy,” ACE, 864

F.3d at 710 (citation omitted), and cellulosic biofuels are where the program has

fallen farthest short of Congress’s goals, see JA165, JA178. Yet instead of “creating

demand pressure to increase consumption of [cellulosic biofuel],” ACE, 864 F.3d at

710 (quotation marks omitted), EPA’s interpretation relieves demand pressure,

allowing cellulosic production to continue vastly undershooting the volumes

Congress envisioned. That is unreasonable.

      C.     EPA’s Reading of “the Projected Volume Available” Is Arbitrary
             and Capricious

      For similar reasons, even if excluding volumes reflected in carryover RINs

were theoretically permissible, selecting that interpretation here was arbitrary and

capricious. To begin with, EPA’s reasoning in the 2020 final rule is “internally

inconsistent.” ANR Storage Co. v. FERC, 904 F.3d 1020, 1028 (D.C. Cir. 2018).

Again, EPA included net imports in “the projected volume available” because

domestic production plus net imports is what is available to obligated parties for

compliance. But the portion of prior-year production and net imports that is reflected

in carryover RINs also is available for compliance. So, by EPA’s own logic,

carryover RINs should be included as well.

      EPA also erroneously relied on the “compliance flexibilit[y]” carryover RINs

provide. JA17; see JA488 (similar). As explained, cellulosic waiver credits provide

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compliance flexibility for cellulosic volume requirements. See supra, pp. 27-29.

Furthermore, although cellulosic waiver credits are an imperfect substitute for

cellulosic RINs due to the fact that obligated parties also must retire advanced RINs,

see JA17, advanced RINs are relatively abundant, see JA2. Indeed, the market has

treated advanced biofuel “as the marginal RFS compliance option when other

sources of conventional biofuel were not available at competitive prices.” JA483.

And EPA could maintain an advanced RIN bank while still drawing down the

cellulosic RIN bank.

      EPA also predicts that it will not issue cellulosic waiver credits in 2023. See

JA17. If that prediction is right, however, it means that obligated parties do not need

the flexibility those credits provide. See supra, pp. 28-29. And regardless, obligated

parties facing compliance difficulties can make use of carryover deficits. See

§ 7545(o)(5)(D). EPA offers no reason whatsoever why such deficits are insufficient

to provide any needed flexibility.

      EPA also asserts that drawing down the cellulosic RIN bank “would increase

the likelihood of retroactive waivers of established standards when unforeseen

circumstances result in less supply than EPA anticipated,” “undermin[ing] …

regulatory certainty.”    JA488.     That is speculation, however, and this very

rulemaking demonstrates that EPA believes it can effectively address unforeseen

supply disruptions. Moreover, in attempting to ensure regulatory certainty for


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obligated parties, EPA increased economic uncertainty for biofuel producers and

investors, undermining the reliable price signals they need to increase cellulosic

production.

      Most fundamentally, EPA improperly brushed aside that its interpretation

undermines the RFS’s “market forcing policy.” ACE, 864 F.3d at 710 (citation

omitted). EPA itself “recognize[s] that the potential for lower cellulosic RIN prices

could have a directionally negative impact on cellulosic biofuel investment.” JA17.

That alone should have caused EPA to reconsider. But instead, EPA attempted to

minimize the importance of carryover RINs and RIN prices, reasoning that the fall

in RIN prices in 2019-2020 was “the result of more than just the availability of

cellulosic carryover RINs,” and that EPA has separately addressed “several of the

factors that … led to th[at] drop in cellulosic RIN prices.” Id. EPA also noted that

“cellulosic biofuel production has increased significantly each year since 2014,” and

concluded that it did “not believe that changing [its] interpretation of the ‘projected

volume available’ to include cellulosic carryover RINs is at this point necessary to

ensure future growth in cellulosic biofuels.” JA18; see JA487 (similar).

      EPA’s focus on other determinants of cellulosic investment, however, ignores

two indisputable facts: (1) cellulosic production continues to lag far behind

Congress’s goals, and (2) excluding carryover cellulosic RINs from “the projected




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volume available” makes that problem worse, not better. In failing to confront these

fundamental points, EPA acted arbitrarily and capriciously.

II.   EPA Erred in Failing To Include Carryover Cellulosic RINs in the
      Modified Applicable Volumes Under its Reset Authority

      Just as the volumes EPA established for 2020 through 2022 contravene the

limits on EPA’s cellulosic waiver authority, they also contravene the limits on its

reset authority. In every annual RFS rulemaking since 2010, EPA has waived the

vast majority of the statutory cellulosic volume, triggering EPA’s reset authority.

See JA8 & n.30. When a reset is triggered, EPA must “modif[y] the applicable

volumes,” while “comply[ing] with the processes, criteria, and standards set forth in

paragraph (2)(B)(ii).” § 7545(o)(7)(F). That paragraph in turn directs EPA to set

the applicable volumes “based on a review of the implementation of the program

during the calendar years specified in the tables, and an analysis of” certain factors.

§ 7545(o)(2)(B)(ii).

      Here, EPA correctly determined that, for cellulosic biofuel, “the appropriate

volume after analyzing the various factors is the projected volume available in each

… year[],” which “is equivalent to the resulting volume after exercise of the

cellulosic waiver.” JA9 (emphases added). EPA accordingly explained that its reset

analysis “subsumes [its] policy and technical rationale for exercising the cellulosic

waiver authority as well,” and did “not provid[e] a separate analysis for the

application of the cellulosic waiver authority.” Id. EPA further acknowledged that

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commenters’ legal arguments regarding EPA’s cellulosic waiver authority were

“still relevant” in the reset context. JA18. In short, EPA chose to apply the same

standard under its reset authority that the statute mandates under its cellulosic waiver

authority—either way, the required cellulosic volume is “the projected volume

available.”    Accordingly, because EPA miscalculated “the projected volume

available” under its cellulosic waiver authority, it also miscalculated that volume

under its reset authority.

      Nevertheless, the 2022 final rule asserts that, “[e]ven were EPA’s

interpretation of ‘projected volume available’ erroneous, we would nonetheless

reduce the cellulosic biofuel volumes to the final volumes we are establishing in this

document (not including carryover RINs) utilizing the reset authority.” Id. But

EPA’s effort to use its reset authority to shore up its erroneous interpretation of its

cellulosic waiver authority is misplaced. EPA cannot with one breath claim that its

reset authority aligns perfectly with its cellulosic waiver authority, and then in the

next breath claim that the two authorities are completely independent, such that its

reset analysis would not change even if its waiver analysis were completely wrong.

Indeed, the text and structure of the reset provision make clear that the reset is a

prospective multi-year waiver, subject to the same basic constraints as the waiver

authority that triggered it. The statutory reset factors certainly give EPA no authority

to exclude the same carryover cellulosic RINs that are required to be included under


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EPA’s cellulosic waiver authority. EPA’s purported exercise of its reset authority

contravenes the statute, is unreasonable, and is arbitrary and capricious.

      A.     The Modified Applicable Volume Under a Reset Unambiguously
             Must Include Carryover Cellulosic RINs

      At Chevron step one, if EPA is required to include carryover cellulosic RINs

in the adjusted cellulosic volume under its cellulosic waiver authority—and as

explained above, it is—then EPA must do the same under its reset authority.

      The statutory text and structure make clear that EPA cannot exclude carryover

cellulosic RINs from the required cellulosic volume in a reset. Starting with the text,

Congress expressly tied EPA’s reset authority to its waiver authorities, directing

EPA to reset a volume requirement only if it “waives” a significant portion of that

requirement in a single year or two consecutive years. § 7545(o)(7)(F). And once a

reset is triggered, EPA must “modif[y] the applicable volumes set forth in the table

concerned for all years following the final year to which the [triggering] waiver

applies.” Id. Structurally, the reset serves as an alternative to the annual waiver

process when it has become clear that such waivers likely will be triggered in many

or all years remaining in the statutory table. In that circumstance, the reset enables

EPA to “modif[y]” the applicable volume for the remaining years in the table all at

once, rather than piecemeal, year by year.        Because the reset functions as a

prospective, multi-year waiver, the basic scope of EPA’s reset authority should



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mirror the scope of the triggering waiver authority, unless an enumerated statutory

factor warrants departing from that baseline.

      Here, none of the statutory reset factors authorizes EPA to exclude carryover

cellulosic RINs from the modified required cellulosic volume. To the contrary, the

statute requires EPA to reset the applicable volume “based on a review of the

implementation of the program during the calendar years specified in the tables.”

§ 7545(o)(2)(B)(ii). As explained above, however, in implementing the program

before a reset, EPA is required to include carryover cellulosic RINs in the adjusted

applicable volume under its cellulosic waiver authority. And here, EPA’s reset

authority was triggered by repeated cellulosic waivers.          Accordingly, the

“implementation of the program” factor provides no authority for EPA to exclude

carryover cellulosic RINs.

      Nor do the remaining reset factors provide that authority. None of those

factors has anything to do with the inclusion or exclusion of carryover cellulosic

RINs. The factors instead concern larger considerations—environmental impacts,

energy security, the rate of renewable fuel production, impacts on consumers, and

impacts on job creation, agricultural commodities, rural economic development, and

food prices. See § 7545(o)(2)(D)(ii). Tellingly, the 2022 final rule discusses

carryover RINs only in relation to the “implementation of the program” factor—not

any other reset factor. See JA14.


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      To be clear, these other reset factors potentially could allow EPA to set the

modified cellulosic volume lower (or higher) than it would have had it simply

exercised its cellulosic waiver authority. But nothing in those factors justifies EPA

lowering the required cellulosic volume by excluding carryover cellulosic RINs. In

the cellulosic waiver provision, “Congress has directly spoken to th[at] precise

question,” Am. Fuel, 3 F.4th at 380 (citation omitted), and EPA cannot use its

generalized authority under the reset provision to override Congress’s specific

directive about the proper treatment of carryover RINs.

      If anything, the additional reset factors reinforce that EPA must include

carryover cellulosic RINs in the modified applicable volume, not exclude them.

Congress commanded EPA to consider “the expected annual rate of future

commercial production of renewable fuels, including … cellulosic biofuel,”

§ 7545(o)(2)(D)(ii)(III), underscoring the importance of production incentives.

Again, cellulosic production has grown far slower than Congress envisioned, and

including carryover RINs in the required cellulosic volume encourages the

investment necessary to bring production in line with the statutory goals.

      B.     EPA’s Use of its Reset Authority To Exclude Carryover Cellulosic
             RINs Is Unreasonable, Arbitrary, and Capricious

      Even if the reset provision were ambiguous, EPA’s interpretation is

unreasonable at Chevron step two and arbitrary and capricious—for four reasons.



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      First, EPA chose to tie the exercise of its reset authority to its cellulosic waiver

authority. EPA expressly—and correctly—determined that “the appropriate volume

after analyzing the various [reset] factors is the projected volume available,” which

is “equivalent to the resulting volume after exercise of the cellulosic waiver.” JA9.

EPA cannot reasonably calculate “the projected volume available” differently under

its cellulosic waiver and reset authorities. EPA itself decided that, either way, the

resulting volume should be “equivalent.”

      Second, EPA’s interpretation is at odds with the statutory structure. “Even

under Chevron’s deferential framework, agencies must operate within the bounds of

reasonable interpretation,” which “must account for both the specific context in

which language is used and the broader context of the statute as a whole.” Util. Air

Reg. Grp. v. EPA, 573 U.S. 302, 321 (2014) (cleaned up). Here, as explained, the

statute as a whole makes clear that a reset functions as a prospective, multi-year

waiver, subject to the same basic constraints as EPA’s cellulosic waiver authority.

It is unreasonable, arbitrary, and capricious for EPA to treat its reset authority as a

license to rewrite the applicable volumes as it sees fit, unmoored from the structure

Congress established for prior years.

      Third, EPA issued cellulosic waiver credits for 2020 through 2022. See supra,

p. 12. By statute, EPA may issue cellulosic waiver credits only when it “reduces the

minimum cellulosic biofuel volume under [the mandatory cellulosic waiver


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provision].” § 7545(o)(7)(D)(ii). EPA regulations likewise provide that it “will

provide cellulosic … waiver credits for purchase” only “[i]f EPA reduces the

applicable volume of cellulosic biofuel pursuant to [the cellulosic waiver

provision].” 40 C.F.R. §80.1456(a). Exercising the reset authority does not trigger

any statutory or regulatory authority to issue cellulosic waiver credits. See id.;

§ 7545(o)(7)(F), (2)(D)(ii).

      Accordingly, to justify the issuance of cellulosic waiver credits in 2020

through 2022, EPA must rely on its cellulosic waiver authority. EPA has articulated

no other basis for issuing cellulosic waiver credits. And when exercising its

cellulosic waiver authority, EPA must reduce the required cellulosic volume “to the

projected volume available,” § 7545(o)(7(D)(i), including volumes available as

carryover RINs. EPA cannot reasonably pretend that the cellulosic waiver credits it

offered for three years—which obligated parties purchased and used to show

compliance—never existed. That would be the height of arbitrary and capricious

agency action.

      Fourth, excluding carryover cellulosic RINs from the required cellulosic

volume again gives short shrift to the fundamental goal of the RFS as a “market

forcing policy.” ACE, 864 F.3d at 710 (quotation marks omitted). The biofuels

petitioners are under no illusions that correcting EPA’s miscalculation of “the

projected volume available” will, on its own, return cellulosic production to the


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trajectory Congress envisioned. But EPA acknowledges that including carryover

RINs in the required cellulosic volume is “reasonable.” JA485. Given the choice

between a reasonable approach that furthers Congress’s goal of incentivizing

cellulosic production and an alternative approach that does not, EPA should have

chosen the former. It was unreasonable, arbitrary, and capricious to do otherwise.

                                 CONCLUSION

      The Court should grant the petitions for review, set aside the 2022 final rule,

and remand for further proceedings consistent with the arguments above.



                                             Respectfully submitted,

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September 19, 2023




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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of this Court’s order of

February 1, 2023, because, excluding the parts of the brief exempted by Federal Rule

of Appellate Procedure 32(f), this brief contains 9,098 words.

      This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because this brief has been prepared in a

proportionally spaced typeface using Microsoft Word for Office 365 in 14-point

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September 19, 2023
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                          CERTIFICATE OF SERVICE

      I certify that on September 19, 2023, I caused a copy of this brief to be filed

with the Clerk of the Court using the Court’s case management/electronic case filing

system, which will automatically serve notice of the filing on registered users of that

system.



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September 19, 2023
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                         ADDENDUM
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   §7545                  TITLE 42----THE PUBLIC HEALTH AND WELFARE                          Page 6380

                                                           from corn starch, that has lifecycle green­
                                                           house gas emissions, as determined by the
                                                           Administrator, after notice and oppor­
                                                           tunity for comment, that are at least 50
                                                           percent less than baseline lifecycle green­
                                                           house gas emissions.
                                                           (ii) Inclusions
                                                              The types of fuels eligible for consider­
                                                           ation as "advanced biofuel" may include
                                                           any of the following:
                                                                (I) Ethanol derived from cellulose,
                                                              hemicellulose, or lignin.
                                                                (II) Ethanol derived from sugar or
                                                              starch (other than corn starch).
                                                                (III) Ethanol derived from waste mate­
                                                              rial, including crop residue, other vege­
                                                              tative waste material, animal waste, and
                                                              food waste and yard waste.
                                                                (IV) Biomass-based diesel.
                                                                (V) Biagas (including landfill gas and
                                                              sewage waste treatment gas) produced
                                                              through the conversion of organic mat­
                                                              ter from renewable biomass.
                                                                (VI) Butanol or other alcohols pro­
                                                              duced through the conversion of organic
                                                              matter from renewable biomass.
                                                                (VII) Other fuel derived from cellulosic
                                                              biomass.
                                                        (C) Baseline lifecycle greenhouse gas emis­
                                                              sions
                                                           The term "baseline lifecycle greenhouse
                                                        gas emissions" means the average lifecycle
                                                        greenhouse gas emissions, as determined by
                                                        the Administrator, after notice and oppor­
                                                        tunity for comment, for gasoline or diesel
                                                        (whichever is being replaced by the renew­
                                                        able fuel) sold or distributed as transpor­
                                                        tation fuel in 2005.
                                                        (D) Biomass-based diesel
                                                           The term "biomass-based diesel" means
                                                        renewable fuel that is biodiesel as defined in
                                                        section 13220(f) of this title and that has
                                                        lifecycle greenhouse gas emissions, as deter­
                                                        mined by the Administrator, after notice
                                                        and opportunity for comment, that are at
                                                        least 50 percent less than the baseline
                                                        lifecycle greenhouse gas emissions. Notwith­
                                                        standing the preceding sentence, renewable
                                                        fuel derived from co-processing biomass with
                                                        a petroleum feedstock shall be advanced
                                                        biofuel if it meets the requirements of sub­
                                                        paragraph (B), but is not biomass-based die­
                                                        sel.
   (o) Renewable fuel program                           (E) Cellulosic biofuel
     (1) Definitions                                       The term "cellulosic biofuel" means re­
       In this section:                                 newable fuel derived from any cellulose,
                                                        hemicellulose, or lignin that is derived from
       (A) Additional renewable fuel                    renewable biomass and that has lifecycle
         The term "additional renewable fuel"           greenhouse gas emissions, as determined by
       means fuel that is produced from renewable       the Administrator, that are at least 60 per­
       biomass and that is used to replace or reduce    cent less than the baseline lifecycle green­
       the quantity of fossil fuel present in home      house gas emissions.
       heating oil or jet fuel.                         (F) Conventional biofuel
       (B) Advanced biofuel                                The term "conventional biofuel" means
         (i) In general                                 renewable fuel that is ethanol derived from
            The term "advanced biofuel" means re­       corn starch.
         newable fuel, other than ethanol derived       (G) Greenhouse gas
                                                           The term "greenhouse gas" means carbon
                                                        dioxide, hydrofluorocarbons, methane, ni-




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   Page 6381                     TITLE 42----THE PUBLIC HEALTH AND WELFARE                                  §7545

       trous oxide, perfluorocarbons, 9 sulfur hexa-                (K) Small refinery
       fluoride. The Administrator may include                        The term "small refinery" means a refin-
       any other anthropogenically-emitted gas                      ery for which the average aggregate daily
       that is determined by the Administrator,                     crude oil throughput for a calendar year (as
       after notice and comment, to contribute to                   determined by dividing the aggregate
       global warming.                                              throughput for the calendar year by the
       (H) Lifecycle greenhouse gas emissions                       number of days in the calendar year) does
         The term "lifecycle greenhouse gas emis-                   not exceed 75,000 barrels.
       sions" means the aggregate quantity of
       greenhouse gas emissions (including direct                   (L) Transportation fuel
       emissions and significant indirect emissions                   The term "transportation fuel" means fuel
       such as significant emissions from land use                  for use in motor vehicles, motor vehicle en-
       changes), as determined by the Adminis-                      gines, nonroad vehicles, or nonroad engines
       trator, related to the full fuel lifecycle, in-              (except for ocean-going vessels).
       cluding all stages of fuel and feedstock pro-               (2) Renewable fuel program
       duction and distribution, from feedstock
       generation or extraction through the dis-                    (A) Regulations
       tribution and delivery and use of the fin-
       ished fuel to the ultimate consumer, where                     (i) In general
       the mass values for all greenhouse gases are                     Not later than 1 year after August 8,
       adjusted to account for their relative global                  2005, the Administrator shall promulgate
       warming potential.                                             regulations to ensure that gasoline sold or
       (I) Renewable biomass                                          introduced into commerce in the United
                                                                      States (except in noncontiguous States or
         The term "renewable biomass" means                           territories), on an annual average basis,
       each of the following:                                         contains the applicable volume of renew-
           (i) Planted crops and crop residue har-
         vested from agricultural land cleared or                     able fuel determined in accordance with
         cultivated at any time prior to December                     subparagraph (B). Not later than 1 year
         19, 2007, that is either actively managed or                 after December 19, 2007, the Administrator
         fallow, and nonforested.                                     shall revise the regulations under this
           (ii) Planted trees and tree residue from                   paragraph to ensure that transportation
         actively managed tree plantations on non-                    fuel sold or introduced into commerce in
         federal10 land cleared at any time prior to                  the United States (except in noncontig-
         December 19, 2007, including land belong-                    uous States or territories), on an annual
         ing to an Indian tribe or an Indian individ-                 average basis, contains at least the appli-
         ual, that is held in trust by the United                     cable volume of renewable fuel, advanced
         States or subject to a restriction against                   biofuel, cellulosic biofuel, and biomass-
         alienation imposed by the United States.                     based diesel, determined in accordance
           (iii) Animal waste material and animal                     with subparagraph (B) and, in the case of
         byproducts.                                                  any such renewable fuel produced from
           (iv) Slash and pre-commercial thinnings                    new facilities that commence construction
         that are from non-federal 10 forestlands, in-                after December 19, 2007, achieves at least a
         cluding forestlands belonging to an Indian                   20 percent reduction in lifecycle green-
         tribe or an Indian individual, that are held                 house gas emissions compared to baseline
         in trust by the United States or subject to                  lifecycle greenhouse gas emissions.
         a restriction against alienation imposed                     (ii) Noncontiguous State opt-in
         by the United States, but not forests or
         forestlands that are ecological commu-                         (I) In general
         nities with a global or State ranking of                         On the petition of a noncontiguous
         critically imperiled, imperiled, or rare                       State or territory, the Administrator
         pursuant to a State Natural Heritage Pro-                      may allow the renewable fuel program
         gram, old growth forest, or late succes-                       established under this subsection to
         sional forest.                                                 apply in the noncontiguous State or ter-
           (v) Biomass obtained from the imme-                          ritory at the same time or any time
         diate vicinity of buildings and other areas                    after the Administrator promulgates
         regularly occupied by people, or of public                     regulations under this subparagraph.
         infrastructure, at risk from wildfire.
           (vi) Algae.                                                  (II) Other actions
           (vii) Separated yard waste or food waste,                      In carrying out this clause, the Admin-
         including recycled cooking and trap                            istrator may-
         grease.                                                            (aa) issue or revise regulations under
       (J) Renewable fuel                                                 this paragraph;
         The term "renewable fuel" means fuel                               (bb) establish applicable percentages
       that is produced from renewable biomass                            under paragraph (3);
       and that is used to replace or reduce the                            (cc) provide for the generation of
       quantity of fossil fuel present in a transpor-                     credits under paragraph (5); and
       tation fuel.                                                         (dd) take such other actions as are
                                                                          necessary to allow for the application
    •so in original. The word "and" probably should appear.               of the renewable fuels program in a
    10 So in original. Probably should be "non-Federal".                  noncontiguous State or territory.



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           (iii) Provisions of regulations                                           2009 .............................................................           0.6
                                                                                     2010 .............................................................          0.95
             Regardless of the date of promulgation,
                                                                                     2011 .............................................................          1.35
           the regulations promulgated under clause
                                                                                     2012 .............................................................           2.0
           (i)-
                                                                                     2013 .............................................................          2.75
                (I) shall contain compliance provisions
                                                                                     2014 .............................................................          3.75
              applicable to refineries, blenders, dis-
                                                                                     2015 .............................................................           5.5
              tributors, and importers, as appropriate,
                                                                                     2016 .............................................................          7.25
              to ensure that the requirements of this
                                                                                     2017 .............................................................           9.0
              paragraph are met; but
                                                                                     2018 .............................................................          11.0
                (II) shall not---
                                                                                     2019 .............................................................          13.0
                   (aa) restrict geographic areas in
                                                                                     2020 .............................................................          15.0
                which renewable fuel may be used; or
                                                                                     2021 .............................................................          18.0
                   (bb) impose any per-gallon obligation
                                                                                     2022 .............................................................          21.0
                for the use of renewable fuel.
                                                                                               (III) Cellulosic biofu.el
           (iv) Requirement in case of failure to pro-
                mulgate regulations                                                              For the purpose of subparagraph (A), of
             If the Administrator does not promul-                                             the volume of advanced biofuel required
           gate regulations under clause (i), the per-                                         under subclause (II), the applicable vol-
           centage of renewable fuel in gasoline sold                                          ume of cellulosic biofuel for the calendar
           or dispensed to consumers in the United                                             years 2010 through 2022 shall be deter-
           States, on a volume basis, shall be 2.78 per-                                       mined in accordance with the following
           cent for calendar year 2006.                                                        table:
       (B) Applicable volumes                                                                                                                          Applicable
                                                                                                                                                        volume of
         (i) Calendar years after 2005                                                                                                                   cellulosic
            (I) Renewable fuel                                                                                                                              biofuel
                For the purpose of subparagraph (A),                                Calendar year:                                                  (in billions of
              the applicable volume of renewable fuel                                                                                                     gallons):
              for the calendar years 2006 through 2022                               2010 .............................................................           0.1
              shall be determined in accordance with                                 2011 .............................................................          0.25
              the following table:                                                   2012 .............................................................           0.5
                                                                                     2013 .............................................................           1.0
                                                                     Applicable      2014 ............................................................ .         1.75
                                                                      volume of      2015 ............................................................ .          3.0
                                                                     renewable       2016 .............................................................          4.25
                                                                             fuel    2017 .............................................................           5.5
   Calendar year:                                                 (in billions of    2018 .............................................................           7.0
                                                                       gallons):     2019 .............................................................           8.5
    2006 .............................................................       4.0     2020 .............................................................          10.5
    2007 .............................................................       4.7     2021 .............................................................          13.5
    2008 .............................................................       9.0     2022 .............................................................          16.0
    2009 .............................................................      11.1
    2010 .............................................................     12.95               (IV) Biomass-based diesel
    2011 .............................................................     13.95                 For the purpose of subparagraph (A), of
    2012 .............................................................      15.2               the volume of advanced biofuel required
    2013 .............................................................     16.55               under subclause (II), the applicable vol-
    2014 .............................................................     18.15               ume of biomass-based diesel for the cal-
    2015 .............................................................      20.5               endar years 2009 through 2012 shall be de-
    2016 .............................................................     22.25               termined in accordance with the follow-
    2017 .............................................................      24.0               ing table:
    2018 .............................................................      26.0                                                                       Applicable
    2019 .............................................................      28.0                                                                        volume of
    2020 .............................................................      30.0                                                                         biomass-
    2021 .............................................................      33.0                                                                     based diesel
    2022 .............................................................      36.0    Calendar year:                                                  (in billions of
              (II) Advanced biofu.el                                                                                                                      gallons):
                For the purpose of subparagraph (A), of                              2009 ............................................................ .          0.5
              the volume of renewable fuel required                                  2010 ............................................................ .         0.65
              under subclause (I), the applicable vol-                               2011 ............................................................ .         0.80
              ume of advanced biofuel for the calendar                               2012 .............................................................           1.0
              years 2009 through 2022 shall be deter-                                       (ii) Other calendar years
              mined in accordance with the following                                          For the purposes of subparagraph (A),
              table:                                                                        the applicable volumes of each fuel speci-
                                                                     Applicable             fied in the tables in clause (i) for calendar
                                                                      volume of             years after the calendar years specified in
                                                                      advanced              the tables shall be determined by the Ad-
                                                                         biofuel            ministrator, in coordination with the Sec-
   Calendar year:                                                 (in billions of           retary of Energy and the Secretary of Ag-
                                                                       gallons):            riculture, based on a review of the imple-



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        mentation of the program during calendar          timate, with respect to the following cal-
        years specified in the tables, and an analy-      endar year, of the volumes of transportation
        sis of-                                           fuel, biomass-based diesel, and cellulosic
            (!) the impact of the production and          biofuel projected to be sold or introduced
          use of renewable fuels on the environ-          into commerce in the United States.
          ment, including on air quality, climate         (B) Determination of applicable percentages
          change, conversion of wetlands, eco-
                                                            (i) In general
          systems, wildlife habitat, water quality,
          and water supply;                                   Not later than November 30 of each of
            (II) the impact of renewable fuels on           calendar years 2005 through 2021, based on
          the energy security of the United States;         the estimate provided under subparagraph
            (III) the expected annual rate of future        (A), the Administrator of the Environ-
          commercial production of renewable                mental Protection Agency shall determine
          fuels, including advanced biofuels in             and publish in the Federal Register, with
          each category (cellulosic biofuel and bio-        respect to the following calendar year, the
          mass-based diesel);                               renewable fuel obligation that ensures
            (IV) the impact of renewable fuels on           that the requirements of paragraph (2) are
          the infrastructure of the United States,          met.
          including deliverability of materials,            (ii) Required elements
          goods, and products other than renew-              The renewable fuel obligation deter-
          able fuel, and the sufficiency of infra-          mined for a calendar year under clause (i)
          structure to deliver and use renewable            shall-
          fuel;                                                 (!) be applicable to refineries, blenders,
            (V) the impact of the use of renewable           and importers, as appropriate;
          fuels on the cost to consumers of trans-              (II) be expressed in terms of a volume
          portation fuel and on the cost to trans-           percentage of transportation fuel sold or
          port goods; and                                    introduced into commerce in the United
            (VI) the impact of the use of renewable           States; and
          fuels on other factors, including job cre-            (III) subject to subparagraph (C)(i),
          ation, the price and supply of agricul-            consist of a single applicable percentage
          tural commodities, rural economic de-              that applies to all categories of persons
          velopment, and food prices.                        specified in subclause (I).
        The Administrator shall promulgate rules          (C) Adjustments
        establishing the applicable volumes under
        this clause no later than 14 months before          In determining the applicable percentage
        the first year for which such applicable          for a calendar year, the Administrator shall
        volume will apply.                                make adjustments-
                                                              (i) to prevent the imposition of redun-
        (iii) Applicable volume of advanced biofu.el
                                                            dant obligations on any person specified in
          For the purpose of making the deter-              subparagraph (B)(ii)(I); and
        minations in clause (ii), for each calendar           (ii) to account for the use of renewable
        year, the applicable volume of advanced             fuel during the previous calendar year by
        biofuel shall be at least the same percent-         small refineries that are exempt under
        age of the applicable volume of renewable           paragraph (9).
        fuel as in calendar year 2022.                   (4) Modification of greenhouse gas reduction
        (iv) Applicable volume of cellulosic biofu.el        percentages
          For the purpose of making the deter-             (A) In general
        minations in clause (ii), for each calendar         The Administrator may, in the regulations
        year, the applicable volume of cellulosic
        biofuel established by the Administrator          under the last sentence of paragraph
        shall be based on the assumption that the         (2)(A)(i), adjust the 20 percent, 50 percent,
        Administrator will not need to issue a            and 60 percent reductions in lifecycle green-
        waiver for such years under paragraph             house gas emissions specified in paragraphs
        (7)(D).
                                                          (2)(A)(i) (relating to renewable fuel), (l)(D)
                                                          (relating to biomass-based diesel), (l)(B)(i)
        (v) Minimum applicable volume of biomass-         (relating to advanced biofuel), and (l)(E) (re-
            based diesel                                  lating to cellulosic biofuel) to a lower per-
          For the purpose of making the deter-            centage. For the 50 and 60 percent reduc-
        minations in clause (ii), the applicable vol-     tions, the Administrator may make such an
        ume of biomass-based diesel shall not be          adjustment only if he determines that gener-
        less than the applicable volume listed in         ally such reduction is not commercially fea-
        clause (i)(IV) for calendar year 2012.            sible for fuels made using a variety of feed-
     (3) Applicable percentages                           stocks, technologies, and processes to meet
       (A) Provision of estimate of volumes of gaso-      the applicable reduction.
           line sales                                     (B) Amount of adjustment
        Not later than October 31 of each of cal-           In promulgating regulations under this
      endar years 2005 through 2021, the Adminis-         paragraph, the specified 50 percent reduction
      trator of the Energy Information Adminis-           in greenhouse gas emissions from advanced
      tration shall provide to the Administrator of       biofuel and in biomass-based diesel may not
      the Environmental Protection Agency an es-          be reduced below 40 percent. The specified 20



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      percent reduction in greenhouse gas emis-             (5) Credit program
      sions from renewable fuel may not be re-                (A) In general
      duced below 10 percent, and the specified 60
      percent reduction in greenhouse gas emis-                The regulations promulgated under para-
      sions from cellulosic biofuel may not be re-           graph (2)(A) shall provide---
      duced below 50 percent.                                    (i) for the generation of an appropriate
                                                               amount of credits by any person that re-
      (C) Adjusted reduction levels                            fines, blends, or imports gasoline that con-
        An adjustment under this paragraph to a                tains a quantity of renewable fuel that is
      percent less than the specified 20 percent               greater than the quantity required under
      greenhouse gas reduction for renewable fuel              paragraph (2);
      shall be the minimum possible adjustment,                  (ii) for the generation of an appropriate
      and the adjusted greenhouse gas reduction                amount of credits for biodiesel; and
      shall be established by the Administrator at               (iii) for the generation of credits by
      the maximum achievable level, taking cost                small refineries in accordance with para-
      in consideration, for natural gas fired corn-            graph (9)(C).
      based ethanol plants, allowing for the use of          (B) Use of credits
      a variety of technologies and processes. An
      adjustment in the 50 or 60 percent green-                A person that generates credits under sub-
      house gas levels shall be the minimum pos-             paragraph (A) may use the credits, or trans-
      sible adjustment for the fuel or fuels con-            fer all or a portion of the credits to another
      cerned, and the adjusted greenhouse gas re-            person, for the purpose of complying with
      duction shall be established at the maximum            paragraph (2).
      achievable level, taking cost in consider-             (C) Duration of credits
      ation, allowing for the use of a variety of              A credit generated under this paragraph
      feedstocks, technologies, and processes.               shall be valid to show compliance for the 12
      (D) 5-year review                                      months as of the date of generation.
        Whenever the Administrator makes any                 (D) Inability to generate or purchase suffi-
      adjustment under this paragraph, not later                 cient credits
      than 5 years thereafter he shall review and              The regulations promulgated under para-
      revise (based upon the same criteria and               graph (2)(A) shall include provisions allow-
      standards as required for the initial adjust-          ing any person that is unable to generate or
      ment) the regulations establishing the ad-             purchase sufficient credits to meet the re-
      justed level.                                          quirements of paragraph (2) to carry forward
      (E) Subsequent adjustments                             a renewable fuel deficit on condition that
        After the Administrator has promulgated              the person, in the calendar year following
      a final rule under the last sentence of para-          the year in which the renewable fuel deficit
      graph (2)(A)(i) with respect to the method of          is created-
      determining lifecycle greenhouse gas emis-                 (i) achieves compliance with the renew-
      sions, except as provided in subparagraph                able fuel requirement under paragraph (2);
      (D), the Administrator may not adjust the                and
      percent greenhouse gas reduction levels un-                (ii) generates or purchases additional re-
      less he determines that there has been a sig-            newable fuel credits to offset the renew-
      nificant change in the analytical methodol-              able fuel deficit of the previous year.
      ogy used for determining the lifecycle green-          (E) Credits for additional renewable fuel
      house gas emissions. If he makes such deter-             The Administrator may issue regulations
      mination, he may adjust the 20, 50, or 60 per-
      cent reduction levels through rulemaking               providing: (i) for the generation of an appro-
      using the criteria and standards set forth in          priate amount of credits by any person that
      this paragraph.                                        refines, blends, or imports additional renew-
                                                             able fuels specified by the Administrator;
      (F) Limit on upward adjustments                        and (ii) for the use of such credits by the
        If, under subparagraph (D) or (E), the Ad-           generator, or the transfer of all or a portion
      ministrator revises a percent level adjusted           of the credits to another person, for the pur-
      as provided in subparagraphs (A), (B), and             pose of complying with paragraph (2).
      (C) to a higher percent, such higher percent          (6) Seasonal variations in renewable fuel use
      may not exceed the applicable percent speci-
      fied in paragraph (2)(A)(i), (l)(D), (l)(B)(i), or      (A) Study
      (l)(E).                                                  For each of calendar years 2006 through
      (G) Applicability of adjustments                       2012, the Administrator of the Energy Infor-
                                                             mation Administration shall conduct a
        If the Administrator adjusts, or revises, a          study of renewable fuel blending to deter-
      percent level referred to in this paragraph or         mine whether there are excessive seasonal
      makes a change in the analytical methodol-             variations in the use of renewable fuel.
      ogy used for determining the lifecycle green-
      house gas emissions, such adjustment, revi-            (B) Regulation of excessive seasonal vari-
      sion, or change (or any combination thereof)               ations
      shall only apply to renewable fuel from new              If, for any calendar year, the Adminis-
      facilities that commence construction after            trator of the Energy Information Adminis-
      the effective date of such adjustment, revi-           tration, based on the study under subpara-
      sion, or change.                                       graph (A), makes the determinations speci-



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      fied in subparagraph (C), the Administrator          tunity for comment, that there is an inad-
      of the Environmental Protection Agency               equate domestic supply.
      shall promulgate regulations to ensure that        (B) Petitions for waivers
      25 percent or more of the quantity of renew-         The Administrator, in consultation with
      able fuel necessary to meet the requirements
      of paragraph (2) is used during each of the 2      the Secretary of Agriculture and the Sec-
      periods specified in subparagraph (D) of each      retary of Energy, shall approve or dis-
      subsequent calendar year.                          approve a petition for a waiver of the re-
                                                         quirements of paragraph (2) within 90 days
      (C) Determinations                                 after the date on which the petition is re-
        The determinations referred to in subpara-       ceived by the Administrator.
      graph (B) are that---                              (C) Termination of waivers
          (i) less than 25 percent of the quantity of      A waiver granted under subparagraph (A)
        renewable fuel necessary to meet the re-         shall terminate after 1 year, but may be re-
        quirements of paragraph (2) has been used        newed by the Administrator after consulta-
        during 1 of the 2 periods specified in sub-      tion with the Secretary of Agriculture and
        paragraph (D) of the calendar year;              the Secretary of Energy.
          (ii) a pattern of excessive seasonal vari-
        ation described in clause (i) will continue      (D) Cellulosic biofuel
        in subsequent calendar years; and                  (i) For any calendar year for which the
          (iii) promulgating regulations or other        projected volume of cellulosic biofuel pro-
        requirements to impose a 25 percent or           duction is less than the minimum applicable
        more seasonal use of renewable fuels will        volume established under paragraph (2)(B),
        not prevent or interfere with the attain-        as determined by the Administrator based
        ment of national ambient air quality             on the estimate provided under paragraph
        standards or significantly increase the          (3)(A), not later than November 30 of the pre-
        price of motor fuels to the consumer.            ceding calendar year, the Administrator
      (D) Periods                                        shall reduce the applicable volume of cel-
                                                         lulosic biofuel required under paragraph
        The 2 periods referred to in this paragraph      (2)(B) to the projected volume available dur-
      are---                                             ing that calendar year. For any calendar
          (i) April through September; and               year in which the Administrator makes such
          (ii) January through March and October         a reduction, the Administrator may also re-
        through December.                                duce the applicable volume of renewable fuel
      (E) Exclusion                                      and advanced biofuels requirement estab-
        Renewable fuel blended or consumed in            lished under paragraph (2)(B) by the same or
      calendar year 2006 in a State that has re-         a lesser volume.
      ceived a waiver under section 7543(b) of this        (ii) Whenever the Administrator reduces
      title shall not be included in the study under     the minimum cellulosic biofuel volume
      subparagraph (A).                                  under this subparagraph, the Administrator
                                                         shall make available for sale cellulosic
      (F) State exemption from seasonality re-           biofuel credits at the higher of $0.25 per gal-
          quirements                                     lon or the amount by which $3.00 per gallon
        Notwithstanding any other provision of           exceeds the average wholesale price of a gal-
      law, the seasonality requirement relating to       lon of gasoline in the United States. Such
      renewable fuel use established by this para-       amounts shall be adjusted for inflation by
      graph shall not apply to any State that has        the Administrator for years after 2008.
      received a waiver under section 7543(b) of           (iii) Eighteen months after December 19,
      this title or any State dependent on refiner-      2007, the Administrator shall promulgate
      ies in such State for gasoline supplies.           regulations to govern the issuance of credits
     (7) Waivers                                         under this subparagraph. The regulations
                                                         shall set forth the method for determining
       (A) In general                                    the exact price of credits in the event of a
        The Administrator, in consultation with          waiver. The price of such credits shall not be
      the Secretary of Agriculture and the Sec-          changed more frequently than once each
      retary of Energy, may waive the require-           quarter. These regulations shall include
      ments of paragraph (2) in whole or in part on      such provisions, including limiting the cred-
      petition by one or more States, by any per-        its' uses and useful life, as the Adminis-
      son subject to the requirements of this sub-       trator deems appropriate to assist market li-
      section, or by the Administrator on his own        quidity and transparency, to provide appro-
      motion by reducing the national quantity of        priate certainty for regulated entities and
      renewable fuel required under paragraph            renewable fuel producers, and to limit any
      (2}-                                               potential misuse of cellulosic biofuel credits
          (i) based on a determination by the Ad-        to reduce the use of other renewable fuels,
        ministrator, after public notice and oppor-      and for such other purposes as the Adminis-
        tunity for comment, that implementation          trator determines will help achieve the goals
        of the requirement would severely harm           of this subsection. The regulations shall
        the economy or environment of a State, a         limit the number of cellulosic biofuel credits
        region, or the United States; or                 for any calendar year to the minimum appli-
          (ii) based on a determination by the Ad-       cable volume (as reduced under this subpara-
        ministrator, after public notice and oppor-      graph) of cellulosic biofuel for that year.



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      (E) Biomass-based diesel                               for the Administrator a study assessing
        (i) Market evaluation                                whether the renewable fuel requirement
             The Administrator, in consultation with         under paragraph (2) will likely result in sig-
           the Secretary of Energy and the Secretary         nificant adverse impacts on consumers in
           of Agriculture, shall periodically evaluate       2006, on a national, regional, or State basis.
           the impact of the biomass-based diesel re-        (B) Required evaluations
           quirements established under this para-             The study shall evaluate renewable fuel-
           graph on the price of diesel fuel.                    (i) supplies and prices;
           (ii) Waiver                                           (ii) blendstock supplies; and
             If the Administrator determines that                (iii) supply and distribution system ca-
           there is a significant renewable feedstock          pabilities.
           disruption or other market circumstances          (C) Recommendations by the Secretary
           that would make the price of biomass-
           based diesel fuel increase significantly, the       Based on the results of the study, the Sec-
           Administrator, in consultation with the           retary of Energy shall make specific recom-
           Secretary of Energy and the Secretary of          mendations to the Administrator concerning
           Agriculture, shall issue an order to reduce,      waiver of the requirements of paragraph (2),
           for up to a 60-day period, the quantity of        in whole or in part, to prevent any adverse
           biomass-based diesel required under sub-          impacts described in subparagraph (A).
           paragraph (A) by an appropriate quantity          (D) Waiver
           that does not exceed 15 percent of the ap-          (i) In general
           plicable annual requirement for biomass-
           based diesel. For any calendar year in                Not later than 270 days after August 8,
           which the Administrator makes a reduc-              2005, the Administrator shall, if and to the
           tion under this subparagraph, the Admin-            extent recommended by the Secretary of
           istrator may also reduce the applicable             Energy under subparagraph (C), waive, in
           volume of renewable fuel and advanced               whole or in part, the renewable fuel re-
           biofuels requirement established under              quirement under paragraph (2) by reducing
           paragraph (2)(B) by the same or a lesser            the national quantity of renewable fuel re-
           volume.                                             quired under paragraph (2) in calendar
           (iii) Extensions                                    year 2006.
              If the Administrator determines that the         (ii) No effect on waiver authority
           feedstock disruption or circumstances de-             Clause (i) does not limit the authority of
           scribed in clause (ii) is continuing beyond         the Administrator to waive the require-
           the 60-day period described in clause (ii) or       ments of paragraph (2) in whole, or in part,
           this clause, the Administrator, in con-             under paragraph (7).
           sultation with the Secretary of Energy and       (9) Small ref"meries
           the Secretary of Agriculture, may issue an
           order to reduce, for up to an additional 60-       (A) Temporary exemption
           day period, the quantity of biomass-based           (i) In general
           diesel required under subparagraph (A) by             The requirements of paragraph (2) shall
           an appropriate quantity that does not ex-           not apply to small refineries until cal-
           ceed an additional 15 percent of the appli-         endar year 2011.
           cable annual requirement for biomass-
           based diesel.                                       (ii) Extension of exemption
      (F) Modification of applicable volumes                      (I) Study by Secretary of Energy
        For any of the tables in paragraph (2)(B), if              Not later than December 31, 2008, the
      the Administrator waives-                                  Secretary of Energy shall conduct for
          (i) at least 20 percent of the applicable              the Administrator a study to determine
        volume requirement set forth in any such                 whether compliance with the require-
        table for 2 consecutive years; or                        ments of paragraph (2) would impose a
          (ii) at least 50 percent of such volume re-            disproportionate economic hardship on
        quirement for a single year,                             small refineries.
      the Administrator shall promulgate a rule                  (II) Extension of exemption
      (within 1 year after issuing such waiver)                    In the case of a small refinery that the
      that modifies the applicable volumes set
      forth in the table concerned for all years fol-            Secretary of Energy determines under
      lowing the final year to which the waiver ap-              subclause (I) would be subject to a dis-
      plies, except that no such modification in                 proportionate economic hardship if re-
      applicable volumes shall be made for any                   quired to comply with paragraph (2), the
      year before 2016. In promulgating such a                   Administrator shall extend the exemp-
      rule, the Administrator shall comply with                  tion under clause (i) for the small refin-
      the processes, criteria, and standards set                 ery for a period of not less than 2 addi-
      forth in paragraph (2)(B)(ii).                             tional years.
     (8) Study and waiver for initial year of pro-           (B) Petitions based on disproportionate eco-
        gram                                                      nomic hardship
      (A) In general                                           (i) Extension of exemption
        Not later than 180 days after August 8,                  A small refinery may at any time peti-
      2005, the Secretary of Energy shall conduct              tion the Administrator for an extension of



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          the exemption under subparagraph (A) for                          (12) Effect on other provisions
          the reason of disproportionate economic                             Nothing in this subsection, or regulations is­
          hardship.                                                         sued pursuant to this subsection, shall affect
          (ii) Evaluation of petitions                                      or be construed to affect the regulatory status
            In evaluating a petition under clause (i),                      of carbon dioxide or any other greenhouse gas,
          the Administrator, in consultation with                           or to expand or limit regulatory authority re­
          the Secretary of Energy, shall consider the                       garding carbon dioxide or any other green­
          findings of the study under subparagraph                          house gas, for purposes of other provisions (in­
          (A)(ii) and other economic factors.                               cluding section 7475) of this chapter. The pre­
                                                                            vious sentence shall not affect implementa­
          (iii) Deadline for action on petitions
                                                                            tion and enforcement of this subsection.
            The Administrator shall act on any peti­
          tion submitted by a small refinery for a
          hardship exemption not later than 90 days
          after the date of receipt of the petition.
       (C) Credit program
         If a small refinery notifies the Adminis­
       trator that the small refinery waives the ex­
       emption under subparagraph (A), the regula­
       tions promulgated under paragraph (2)(A)
       shall provide for the generation of credits by
       the small refinery under paragraph (5) begin­
       ning in the calendar year following the date
       of notification.
       (D) Opt-in for small refineries
         A small refinery shall be subject to the re­
       quirements of paragraph (2) if the small re­
       finery notifies the Administrator that the
       small refinery waives the exemption under
       subparagraph (A).
     (10) Ethanol market concentration analysis
       (A) Analysis
          (i) In general
            Not later than 180 days after August 8,
          2005, and annually thereafter, the Federal
          Trade Commission shall perform a market
          concentration analysis of the ethanol pro­
          duction industry using the Herfindahl­
          Hirschman Index to determine whether
          there is sufficient competition among in­
          dustry participants to avoid price-setting
          and other anticompetitive behavior.
          (ii) Scoring
             For the purpose of scoring under clause
          (i) using the Herfindahl-Hirschman Index,
          all marketing arrangements among indus­
          try participants shall be considered.
       (B) Report
         Not later than December 1, 2005, and annu­
       ally thereafter, the Federal Trade Commis­
       sion shall submit to Congress and the Ad­
       ministrator a report on the results of the
       market concentration analysis performed
       under subparagraph (A)(i).
     (11) Periodic reviews
       To allow for the appropriate adjustment of
     the requirements described in subparagraph
     (B) of paragraph (2), the Administrator shall
     conduct periodic reviews of-
         (A) existing technologies;
         (B) the feasibility of achieving compliance
       with the requirements; and
         (C) the impacts of the requirements de­
       scribed in subsection (a)(2) 11 on each individ­
       ual and entity described in paragraph (2).

    11 So in original.   Subsection (a) does not contain a par. (2).




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